Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.371 Filed 11/10/11 Page 1 of 25




                                   EXHIBITD
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.372 Filed 11/10/11 Page 2 of 25




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 STEVE CONLEY, NANCY CONLEY,
 Individually and NANCY CONLEY
 as NEXT FRIEND OF J. C., a Minor

 Plaintiffs                                            Case No.2: 1 l-cv-1 1205
                                                       Hon. Sean F. Cox
 v.                                                    Magistrate Judge R. Steven Whalen

 MLT, INC., a Minnesota corporation,
 DIAMOND HOTELS COZUMEL SA
 de C.v., a foreign corporation, HOLIDAY
 VILLAGE WHITE SANDS SA, a foreign
 corporation, OCCIDENTAL HOTELS
 MANAGEMENT B.V., a foreign corporation,
 OCCIDENTAL HOTELES MANAGEMENT,
 S.L., a foreign corporation, and ALLEGRO
 RESORTS MARKETING CORPORA nON,
 a Florida corporation

               Defendants,

 LA W OFFICES OF BENNER & FORAN                 EBONY 1. DUFF (P6543])
 BRIAN J. BE1'rNER (P25239)                     Attorney for Defendant ML T, Inc
 NANCY SAVAGEAU (P56546)                        1000 Woodhridge Street
 DAVID A. PRIEHS (P39606)                        Detroit, MI 48207
 Attorneys for Plaintiffs                       313-446-554313 I 3-259-0450( fax)
 28116 Orchard Lake Road
 Fannington Hills, MI48334                      WILLIAM J. CREMER
 248-737-5544/248-737-5545(fax)                 JOSHUA D. YEAGER
                                                CREMER, SPINA, SHAUGHNESSY,
 ANTHONY J. CALATI (P34994)                     JANES EN & SIEGERT, LLC
 Attorney for Allegro Resorts Marketing         Counsel for Defendant Occidental Hotels
 333 W. Fort Street, Suite 1600                 180 North LaSalle Street Suite 3300
 Detroit, MI 48226                              Chicago, IL 60601
 313-965-6100/313-731-041 O( fax)               312-726-3800




                                            I
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.373 Filed 11/10/11 Page 3 of 25




                    PLAINTIFFS INTERROGATORIES TO DEFENDANT,
                    ALLEGRO RESORTS MARKETING CORPORATION,
                                  a Florida corporation


         NOW COME the Plaintiffs herein, by and through their attorneys, Benner and Foran, and

  submits the following Interrogatories to the above defendant, Allegro Resorts Marketing

  Corporation, a Florida corporation,

         PLEASE TAKE NOTICE that the following Interrogatories are directed to each of the

  above-captioned Defendant, under the provisions of FRCP 33 and the various subdivisions thereof,

  and defendant is separately required to answer said Interrogatories and to furnish such information

  as is available to you, The information available to you shall include all information discoverable

  within the possession or knowledge ofyour agents, employees, attorneys, investigators or the agents

  of same, and who are eompetent to testifY as to the facts stated,

         You are required to me Answers to the Interrogatories under oath and the answers shall be

  signed by you according to the provisions of FRCP 33(b)(2), Also, you are required to answer the

  Interrogatories under oath within thirty (30) days after service of them upon you,

         Each of the Interrogatories shall be deemed to be continuing in nature so as to require that

  supplemental answers be med if information is obtained in addition to, or if different from, that set

  forth in the original answers hereto, according to provisions ofFRCP 26(e)

                                            DKFI:"iITIONS

         For the purposes of these Interrogatories, the following definitions shall apply:

         A       The term "documents" shall mean, without limitation, every writing or record of

  every type and description that is or has been in the possession, control or custody of each Defendant

  or of which it has knowledge, including, without limitations, files, correspondence, records, notes,

                                                    2
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.374 Filed 11/10/11 Page 4 of 25




  evaluations, memoranda, communications, pamphlets, publications, voice recordings, computer

  files, discs, cd-rom, and statistical complications; every copy of such writing or record where the

  original is not in the possession, custody or control of each Defendant and every copy of such

  writing or record where such copy is not an identieal copy of the original.

         B.      The term "Defendant" when used in these Interrogatories shall refer to, Defendant

  Allegro Resorts Marketing Corpordtion, a Florida corporation, named in the Complaint and also

  includes all agents, employees, associates and other representatives ofand experts and/or consultants

  hired by or retained on behalf of each Defendant. The term "Defendants" shall refer to all

  Defendants named in the Complaint.


                                       l!~TERROGATORIES



  Defendant's Direct Business Contacts witll tile State ofMiclligaJl

  I.     For each of the calendar years 1990 through 20 I 0, inclusive, state:

         a.      The number of customers who booked rooms in the defendant's resorts located in
                 Mexico, Costa Rica, Aruba and the Dominican RepUblic.
         b.      The number of customers who bookcd rooms in the defendant's resorts located in
                 Mexico, Costa Rica, Aruba and the Dominican Republic who madc their purchase
                 in the United States.
         c.      The number of customers who booked rooms in the defendant's resorts located in
                 Mexico, Costa Rica, Aruba and the Dominican Republic who resided in the State of
                 Michigan and/or made their purchase from the State of Michigan.
         d.      The defendant's total revenues from defendant's resorts located in Mexico, Costa
                 Rica, Aruba and the Dominican Republic.
  ANSWER:




                                                   3
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.375 Filed 11/10/11 Page 5 of 25




 2.     Identify and describe all advertising/marketing activities directed to residents of the State

 of Michigan by or on behalf ofMLT INC and/or Allegro Resorts Marketing Corporation during the

 period from Jan. 1, 1990 through the present. For each such activity state:

         a.     The nature of the activity, i.e. mailings, television/radio, telephone solicitation,
                newspaper, magazine or other periodical, etc.
        b.      The media outlet involved and the volume;
        c.      The periods during which the activities took place;
        d.      The content.

 ANSWER:




  3.     Identify all contracts entered into by or on behaIfofAlIegro Resorts Marketing Corporation,

 a Florida corporation with persons andlor other entities residing and/or operating in the State of

  Michigan. For cach state:

         a.     The parties to the contract and date of execution;
         b.     The subject and terms of the contract;
         c.     The identity ofthe person presently having possession (name, address, employer and
                title)

 ANSWER:




 4.      Identify all contracts entered into by or on behalf ofAllegro Resorts Marketing Corporation,

 a Florida corporation with persons and/or other entities residing and/or operating in the State of

 Michigan. For each state:

         a.     The parties to the contract and date of execution;
         b.     The subject and tenus of the contract;
         c.     The identity ofthe person presently having possession (name, address, employer and
                title)

                                                  4
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.376 Filed 11/10/11 Page 6 of 25




  ANSWER:


  5.     Identify all contracts entered into by or on behalf ofAllegro Resorts Marketing Corporation

  with persons and/or other entities residing and/or operating in the State ofMichigan. For each state:

         a.      The parties to the contraet and date of execution;
         b.      The subjeet and terms of the eontract;
         c.      The identity ofthe person presently having possession (name, address, employer and
                 title)
  ANSWER:




  6.     Identify all meetings conducted/attended by employees/representatives of the defendant

  v,ithin the State of Michigan. For each state:

         a.      The date and purpose of the meeting;
         b.      Identify the attendees;


  ANSWER:




  7.     Identify all leasing/rental agreements for real property located in the State of Michigan

  entered into by or on behalf of the defendant.


  ANSWER:




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Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.377 Filed 11/10/11 Page 7 of 25




 8.     Has the defendant ever been registered or authorized to do business in ~ichigan and/or

 maintained a resident agent in the State of Michigan? If so, state:

        a.      The nature of the registration/authorization;
        b.      The periods of such registration/authorization.

 ANSWER:




 9.     Has the defendant, either directly or through agents, ever offered goods for sale or services

 for use in Michigan. If so, state:

        a.      Describe the goods and/or services offered;
        b.      The periods during which such offers were made.


 ANSWER:




  10.   Identify the number oftravel agents located in the State of~ichigan to whom the defendant

 has ever paid a commission or other fee. Also state:

        a.      Identify the contracts or other agreements under the terms of which the
                commissions/fees were paid.
        b.      The total amount of commissions/fees paid by or on behalf of the defendant during
                each ofthe calendar years from 1990 to 2010 inclusive.

 ANSWER:




                                                  6
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.378 Filed 11/10/11 Page 8 of 25




  II.    Has the defendant offered to travel agents the opportunity to register/enroll for any programs

  and/or services offered by or on behalf of the defendant? If so, for each service/program state:

         a.      Describe the service/program and the periods it existed;
         b.      Describe the necessary qualifications (0 be eligible for the service/program and the
                 means of registration/enrollment;
         c.      Describe the benefits available to registrants/enrollees;
         d.      State the total number of registrants/enrollees and of those located in the State of
                 Michigan.

  ANSWER:




  Relationship with Co-Defendants

  12.    Identify (name address, employer and title) ofall persons who have been responsible for the

  day to day operation of the Allegro Cozumel resort (the resort which J.e. was injured on April 11,

  2009) which during the period from Jan. 1, 1990 through the present.

  ANSWER:




  13.    Describe defendant Allegro Resorts Marketing Corporation, a Florida corporation's

  involvement with the Allegro Cozumel resort (the resort which J.C. was injured on April II ,2009)

  during the period from Jan. 1, 1990 through the present.

  ANSWER:




                                                   7
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.379 Filed 11/10/11 Page 9 of 25




  14.    Describe defendant, Allegro Resorts Marketing Corporation, a Florida corporation's

  involvement with the Allegro Cozumel resort (the resort which J.e. was injured on April II, 2009)

  during the period fmm Jan. I, 1990 through the present.

  ANSWER:




  15.    Describe defendant Allegro Resorts Marketing Corp's involvement with the Allegro

  Cozumel resort (the resort which J.e. was injured on April 11,2009) during the period from Jan.

  I, 1990 through the present.


  ANSWER:




  16.    Identify all contracts and other agreements, including operating agreements, which have been

  entered into between defendant Allegro Resort Marketing, Corp. providing date of execution, title,

  signatories and person(s) presently having possession.

  ANSWER:



  17.    Identify all contracts and other agreements, including operating agreements, which have

  been entered into between defendant Allegro Resorts Marketing Corporation, a Florida corporation

  and defendant Diamond Hotels Cozumel S.A. providing date of execution, title, signatories and

  person(s) presently having possession.

                                                  8
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.380 Filed 11/10/11 Page 10 of 25




  ANSWER:




  18.    Identify all eontraets and other agreements, including operating agreements, which have been

  entered into between defendant Allegro Resorts Marketing Corporation, a Florida corporation, and

  defendant Occidental Hoteles Management S.L., providing date of execution, title, signatories and

  person( s) presently having possession.


  Ac~SWER:




  19.    Identify all contracts and other agreements which have been entered into between defendant

  Allegro Resorts Marketing Corporation, a Florida corporation and defendant, Occidental Hotcls

  Management RV.. providing date of execution, title, signatories and person(s) presently having

  possession.

  ANSWER:




  20.    Identify all contracts and other agreements which have been entered into between defendant

  Allegro Resorts Marketing Corporation, a Florida corporation, and Occidental Hoteles Management



                                                  9
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.381 Filed 11/10/11 Page 11 of 25




  S.L. and defendant Diamond Hotels Cozumel S.A. de C.Y. providing date of execution, title,

  signatories and person(s) presently having possession.

  ANSWER;




  21.    Identify all contracts and other agreements which have been entered into between defendant

  Allegro Resorts Marketing Corp. and defendant Diamond Hotels Cozumel S.A. de c.y. providing

  date of execution, title, signatories and person(s) presently having possession.

  ANSWER:




  22.    Has Allegro Resorts Marketing Corporation, a Florida corporation its officers, shareholders

  or subsidiaries received any of revenue earned by defendant Allegro?          If so, describe each

  disbursement, the amount and its calculation.

  A."ISWER:




  23.    Has Allegro Resorts Marketing Corporation, a Florida corporation its officers, shareholders

  or subsidiaries received any     revenue earned by defendant Allegro?         If so, describe each

  disbursement, the amount and its calculation.

  ANSWER;




                                                  10
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.382 Filed 11/10/11 Page 12 of 25




  24.    Has Allegro Resorts Marketing Corporation, a Florida corporation its officers, shareholders

  or subsidiaries received any revenue earned through the operation of the Allegro Cozumel resort at

  which J.e. was injured on April 11, 2009? If so, describe each disbursement, the amount and its

  calculation.

  ANSWER:




  25.    Has Allegro Resorts Marketing Corporation, a Florida corporation, its officers, shareholders

  or subsidiaries received any revenue earned through the operation ofthe Allegro Cozumel resort at

  which J.C. was injured on April 11, 20097 If so, describe each disbursement, the amount and its

  calculation.

  Ao."ISWER:



  26.    Identify the sources of all operating capital for Allegro Resorts Marketing Corporation for

  the years 1990 through 20 I 0 inclusive.

  ANSWER:




  Internet Marketing
  27.    Identify all web sites on which Allegro Resorts Marketing Corporation, a Florida corporation


                                                  11
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.383 Filed 11/10/11 Page 13 of 25




  properties have been advertised/marketed. For each state:

         a.     The domain name and the owner/registrant of the domain name;
         b.     The period oftime the web site operated;
         c.     The Occidental Hotels properties advertised/marketed;
         d.     Identify the host for the web site (name, address)
         e.     Identify the number ofbookings made to Occidental resort properties in Mexico, the
                Dominican Republic, Costa Rica and Aruba through the web site annually for the
                period from Jan. 1,1990 to Jan. 2011.
         f.     Identify the number of bookings of customers located in the State of Michigan made
                to Occidental resort properties in Mexico, the Dominican Republic, Costa Rica and
                Aruba through the web site annually for the period from Jan. I, 1990 to Jan. 2011.
         g.     Provide the total value of bookings made to Occidental resort properties in Mexico,
                the Dominican Republic, Costa Rica and Aruha through the web site annually for the
                period from Jan. I, 1990 to Jan. 2011.
         h.     Provide the total value of bookings of customers located in the State of Michigan
                made to Occidental resort properties in Mexico, the Dominican Republic, Costa Rica
                and Aruba through the web site annually for the period from Jan. I, 1990 to Jan.
                2011.

         1.     Whether the site was interactive to the extent that bookings could be made and
                payment received;
         J.     Describe all agreements under the terms of which Occidental resorts were
                advertised/marketed on the web site.

  ANSWER:




  28.    Identify all entities which have owned or had any interest in the domain name "Occidental

  Hotels.com". Also describe each entity's interest in the domain name and the period each interest

  was held.

  ANSWER:




                                                 12
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.384 Filed 11/10/11 Page 14 of 25




                                      By isl David A. Priehs (P39606)
                                      LAW OFFICES OF BEl\'NER & FORAN
                                      BRIAN J. BENNER (P25239)
                                      DAVID A PRIERS (P39606)
                                      Attorneys for Plaintiff
                                      28116 Orchard Lake Road
                                      Farmington Hills, MI 48334-3737
                                      248-737-5544/Fax 248-737-5544
  Dated: November 10, 2011            dap@dpdehspc.com




                                        13
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.385 Filed 11/10/11 Page 15 of 25




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT or'MICHIGAN
                                  SOCTHER."f DIVISION



 STEVE CONLEY, NANCY CONLEY,
 Individually and NANCY CONLEY
 as NEXT FRIEND OF 1. c., a Minor

 Plaintiffs                                                Case No.2: Il-cv-11205
                                                           Hon. Sean F. Cox
 v.                                                        Magistrate Judge R. Steven Whalen

 MLT, INC., a Minnesota corporation,
 DIAMOND HOTELS COZUMEL SA
 de c.Y., a foreign corporation, HOLIDAY
 VILLAGE WHITE SANDS SA, a foreign
 corporation, OCCIDENTAL HOTELS
 MANAGEMENT B.Y., a foreign corporation,
 OCCIDENTAL HOTELES MANAGEMENT,
 S.L., a foreign corporation, and ALLEGRO
 RESORTS MARKETING CORPORATION,
 a Florida corporation

               Defendants,
                                   .. ..
                                    ~      -.~.~.   --:--:------:=-~
                                                                                              I
 LAW OFFICES OF BENNER & FORAN                      EBONY L. DUFF (P65431)
 BRIAN J. BENNER (P25239)                           Attorney fbr Defendant MLT, Inc
 NANCY SAVAGEAU (P56546)                            1000 Woodbridge Street
 DAVID A. PRIEHS (P39606)                           Detroit, MI 48207
 Attorneys for Plaintiffs                           313-446-5543/313-259-0450(fax)
 28116 Orchard Lakc Road
 Farnlington Hills, MI 48334                        WILLIAM J. CREMER
 248-737-5544/248-737-5545(fax)                     JOSHUA D. YEAGER
                                                    CREMER, SPINA, SHAUGHNESSY,
 ANTHONY 1. CALATI (P34994)                         JANESEN & SIEGERT, LLC
 Attorney for Allegro Resorts Marketing             Counsel for Defendant Occidental Hotels
 333 W. Fort Street, Suite 1600                     180 North LaSalle Street Suite 3300
 Detroit, MI 48226                                  Chicago, IL 60601
 313-965-6100/313-731-04 !o(fax)                    312-726-3800
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.386 Filed 11/10/11 Page 16 of 25



              PLAINTIFF'S REOUEST FOR PRODUCTION OF DOCUMENTS
                  REGARDING PLAINTIFFS I~TERROGATORIES TO
                   DEFENDANT ALLEGRO RESORTS )'IARKETING
                         CORPORATION, a Florida corporation


  TO:    COUNSEL OF RECORD

        NOW COME the plaintiffs by and through their attorneys, Benner and Foran, and request

 that the defendant, Allegro Resorts Marketing Corporation, a Florida corporation, according to the

 provisions of FRCP 33(b )(2) produce for inspection and copying the following information and

 documentation to the Law Offices of Bemmer and Foran, 28116 Orchard Lake Road, Farmington

 Hills, MI 48334, within thirty (30) days of service of this request upon you.

                                           DEFINITIONS

         1.     The ternls"documents" when used in this Request for Production shall mean, without

 limitation, every writing of record ofevery type and description that is or has been in the possession,

 control or custody of Allegro Resorts Marketing Corporation, a Florida corporation or of which

 Allegro Resorts Marketing Corporation, a Florida corporation has knowledge, including, without

 limitations, files, correspondence, records, evaluations, memoranda, communications, pamphlets,

 publications, voice recoding and statistical compilations; every copy ofsuch writing or record where

 the original is not in possession, custody or control of defendant, Allegro Resorts Marketing

 Corporation, a Florida corporation and every copy of such writing or record where such copy is not

 an identical copy of the originaL

        2.      The term "defendant" when used in this request for production shall refer to Allegro

 Resorts Marketing Corporation, a Florida corporation.       And also include all agents, employees,

 associates and other representatives of and experts and/or consultants hired or retained on behalf of

 Allegro Resorts Marketing Corporation, a Florida corporation.
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.387 Filed 11/10/11 Page 17 of 25



        3.      For each document produced, identifY the request for production of documents in

 response to which it is produced and the answer to interrogatory in which it is identified,

                                DocrMENTS REQrESTED

         I.     Any and all documents identified in response to Plaintiffs Interrogatories Directed

                to defendant, Allegro Resorts Marketing Corporation, a Florida corporation, For

                each document produced, identify the interrogatory and interrogatory subsection to

                which is corresponds,



                                               Bv 151 David A. Priehs (P39606)
                                               LAW OFFICES OF BENNER & FORAN
                                               BRIAN 1. BENNER (P25239)
                                               DAVID A PRIEHS (P39606)
                                               Attorneys for Plaintiff
                                               28116 Orchard Lake Road
                                               Farmington Hills, MI 48334-3737
                                               248-737-5544/Fax 248-737-5544
 Dated: November 10,2011                       dap@dpriehspc.com
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.388 Filed 11/10/11 Page 18 of 25



                              lJNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERi'J DIVISION



  STEVE CONLEY, NANCY CONLEY,
  Individually and NANCY CONLEY
  as NEXT FRIEND OF J. C., a Minor

  Plaintiffs                                          Case No.2: ll-cv-11205
                                                      Hon. Sean F. Cox
  v.                                                  Magistrate Judge R. Steven Whalen

  MLT, INC., a Minnesota corporation,
  DIAMOND HOTELS COZUMEL S.A.
  de C.V., a foreign corporation, HOLIDAY
  VILLAGE WHITE SA1'.TIS S.A., a foreign
  corporation, OCCIDENTAL HOTELS
  MANAGEMENT B.V., a foreign corporation,
  OCCIDENTAL HOTELES MANAGEMENT,
  S.L., a foreign corporation, and ALLEGRO
  RESORTS MARKETING CORPORATION,
  a Florida corporation

                Defendants,

  LAW OFFICES OF BENNER & FORAN                EBONY L. DUFF (P6543I)
  BRIAN J. BENNER (P25239)                     Attorney for Defendant MLT, Inc
  NANCY SAVAGE AU (P56546)                     1000 Woodbridge Street
  DAVID A. PRIEHS (P39606)                      Detroit, 'viI 48207
  Attorneys for Plaintiffs                     3 13-446-5543i3 13-259-0450(fax)
  28116 Orchard Lake Road
  Farnlington Hills, MI 48334                  WILLIAM J. CREMER
  248-737-5544/248-737-5545(fax)               JOSHUA D. YEAGER
                                               CRE'viER, SPINA, SHAUGHNESSY,
  ANTHONY J. CALA TI (P34994)                  JANESEN & SIEGERT, LLC
  Attorney for Allegro Resorts Marketing       Counsel for Defendant Occidental Hotels
  333 W. Fort Street, Suite 1600               180 North LaSalle Street Suite 3300
  Detroit, 'viI 48226                          Chicago, IL 60601
  313-965-6100/3 I 3-73 1-04 1O(fax)           312-726-3800
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.389 Filed 11/10/11 Page 19 of 25




     NOTICE OF TAKING DEPOSITIO;'! DUCES TECUM OF ALLEGRO RESORTS
  MARKETING CORPORATION'S EMPLOYEE(PERSON) MOST KNOWLEDGEABLE
    REGARDING PAST AND PRESENT CONTRACTUAL AND OTHER BUSINESS
  RELATIONSHIPS BETWEEN ALLEGRO RESORTS MARKETING CORPORATION
  AND CO-DEFENDANTS MLT, INC., OCCIDENTAL HOTELS MANAGEMENT B.V..
      OCCIDENTAL HOTELES MANAGEMENT S.L. AND DIAMOND HOTELS
                         COZUMEL S.A. DE C.V.



         PLEASE T AKENOTICE that pursuant to FRCP 30 (b)(6) the Deposition ofAllegro Resorts

  Marketing Corporation's employee person most knowledgeable regarding past and present

  contractual and other business relationships between Allegro Resorts Marketing Corporation and

  co-defendants :YILT, Inc., Occidental Hotels Management B.V., Occidental Hoteles Management

  S.L. and Diamond Hotels Cozumel S.A. de C.V. will betaken according to FRCP 30(b)(6) at a date

  and location to be detennined at a later time. This deposition duces tecum will be used for all

  purposes allowable pursuant to the Federal Rules of Civil Proeedure.

         The witnesses shall produce at their depositions for inspection and copying:

         I.     All documents and other records, including those stored on electronic medium,
                which embody, describe and/or refer to past and/or present contracts and/or other
                agreements which have existed between Allegro Resorts Marketing Corp. and any
                of the co-defendants.

         2.     All documents and other records, including e-mails, text messages and other
                electronic records, which embody, describe and/orrefer to communications between
                employees/agents of Allegro Resorts Marketing Corporation and any other entity
                which relate in any way to the injury of J. C. and/or the claims arising from that
                injury.

                                      LAW OFFICES OF BE1'>'NER & FORAN


                                              Bv:/s/David A. Priehs (p39606)
                                              BRIA;'! J. BENNER (P25239)
                                              DAVID A. PRIEHS (P39606)
                                              Attorneys for Plaintiffs
                                              28116 Orchard Lake Road
                                              Fannington Hills, MI 48334
                                              248-737-5544
  Dated: November 10, 2011
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.390 Filed 11/10/11 Page 20 of 25



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



  STEVE CONLEY, NANCY CONLEY,
  Individually and NANCY CONLEY
  as NEXT FRIEND OF 1. c., a Minor

  Plaintiffs                                          Case No, 2:II-cv-J 1205
                                                      Hon. Scan F. Cox
  v,                                                  Magistrate Judge R. Steven Whalen

  MLT, INC., a Minnesota corporation,
  DIAMOND HOTELS COZU:'vIEL SA
  de C.V., a foreign corporation, HOLIDAY
  VILLAGE WHITE SANDS SA, a foreign
  corporation, OCCIDENTAL HOTELS
  :'vIANAGEMENT B.V., a foreign corporation,
  OCCIDENTAL HOTELES MANAGEMENT,
  S,L., a foreign corporation, and ALLEGRO
  RESORTS MARKETING CORPORATION,
  a Florida corporation

                Defendants,
               ______ ,~~~~~.~~----~~------~~~~------~I
  LAW OFFICES OF BENNER & FORAN                EBONY L. DUFF (P6543I )
  BRIAN J. BENNER (P25239)                     Attomey for Defendant MLT, Inc
  NANCY SAVAGEAU (P56546)                      1000 Woodbridge Street
  DAVrD A. PRIEHS (P39606)                      Detroit, MI 48207
  Attomeys for Plaintiffs                      31 3-446-5543/3 13-259-0450(fax)
  28116 Orchard Lake Road
  Fannington Hills, MI 48334                   WILLIAM J. CREMER
  248-737 -5544/248-737-5545(fax)              JOSHUA D. YEAGER
                                               CREMER, SPINA, SHAUGHNESSY,
  ANTHONY ], CALATI (P34994)                   JANESEN & SIEGERT, LLC
  Attomey for Allegro Resorts Marketing        Counsel for Defendant Occidental Hotels
  333 W. Fort Street, Snife 1600               180 North LaSalle Street Suite 3300
  Detroit, MI 48226                            Chicago, IL 6060 I
  313-965-6100/313-731-0410(fax)               312-726-3800
                                                  --------------------~I
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.391 Filed 11/10/11 Page 21 of 25




             NOTICE OF TAKING DEPOSITION DUCES TECUM OF THE
      EMPLOYEE OF ALLEGRO RESORTS MARKETING CORPORATION MOST
       .K."IOWLEDGEABLE REGARDING PAST AND PRESENT MARKETING OF
                     OCCIDENTAL HOTELS AND RESORTS


         PLEASE TAKE NOTICE that pursuant to FRCP 30 (b)(6) the deposition of the employee

  ofAllegro Resorts Marketing Corporation most knowledgeable regarding past and present marketing

  of Occidental Hotels and Resorts_will be taken according to FRCP 30(b)(6) at a date and location

  to be determined at a later time. This deposition duces tecum will be used for all purposes allowable

  pursuant to the Federal Rules of Civil Procedure.

         The witnesses shall produce at their depositions for inspection and copying:

          I.     All documents and other records, including those stored on electronic medium,
                 which embody, describe andlor refer to past andlor present marketing of the
                 Occidental Hotesl and Resorts.

         2.      All documents and other records, including e-mails, text messages and other
                 electronic records, which embody, describe andlor refer to communications between
                 employees/agents of Allegro Resorts Marketing Corporation and any other entity
                 which relate in any way to the injury of J. C. andlor the claims arising from that
                 lllJury.


                                        LAW OFFICES OF BENNER & FORAN


                                                lly:lslDavid A. Priehs (P 39606)
                                                BRIAN 1. BENNER (P25239)
                                                DA VlD A. PRIEHS (P39606)
                                                Attorneys for Plaintiffs
                                                28116 Orchard Lake Road
                                                Farmington Hills, MI 48334
                                                248-737-5544
  Dated: November 10,2011
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.392 Filed 11/10/11 Page 22 of 25



                              lJNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION




  STEVE CONLEY, NANCY CONLEY,
  Individually and NANCY CONLEY
  as NEXT FRIEND OF J. c., a Minor

  Plaintiffs                                          Case No.2: 1l-cv-l 1205
                                                      Hon. Sean F. Cox
  v.                                                  Magistrate Judge R. Steven Whalen

  MLT, INC., a Minnesota corporation,
  DIAMOND HOTELS COZUMEL SA
  de C.V., a foreign corporation, HOLIDAY
  VILLAGE WHITE SANDS SA, a foreign
  corporation, OCCIDENTAL HOTELS
  MANAGEMENT B.V., a foreign corporation,
  OCCIDENTAL HOTELES MANAGEMENT,
  S.L., a foreign corporation, and ALLEGRO
  RESORTS MARKETING CORPORATION,
  a Florida corporation

                Defendants,

  LAW OFFICES OF BEl','NER & FORAN             EBONY 1. DUFF (P65431)
  BRIAN J. BENNER (P25239)                     Attorney for Defendant MLT, Inc
  NANCY SAVAGEAU (P56546)                      1000 Woodbridge Street
  DAVID A. PRIEHS (P39606)                     Detroit, MI 48207
  Attorneys for Plaintiffs                     313-446-5543/313-259-0450(fax)
  28116 Orchard Lake Road
  Farmington Hills, MI 48334                   WILLIAM J. CREMER
  248-737 -5544/248-737-5545(fax)              JOSHUA D. YEAGER
                                               CREMER, SPINA, SHAUGHNESSY,
  ANTHONY J. CALATI (P34994)                   JANESEN & SIEGERT, LLC
  Attorney for Allegro Resorts Marketing       Counsel for Defendant Occidental Hotels
  333 W. Fort Street, Suite 1600               180 North LaSalle Street Suite 3300
  Detroit, MI 48226                            Chicago, IL 6060 I
  313-965-6100/313-731-0410(fax)               312-726-3800


       NOTICE OF TAKINGJJEPOSITION DUCES TECUM OF GREGORIA DE DIEGO
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.393 Filed 11/10/11 Page 23 of 25




         PLEASE TAKE NOTICE that pursuant to FRCP 30 (b)(6) the deposition of Gregoria De

  Diego will be taken according to FRCP 30(b)( 6) at a date and location to be determined at a later

  time. This deposition duces tecum will be used for all purposes allowable pursuant to the Federal

  Rules of Civil Procedure.

         The witnesses shall produce at their depositions for inspection and copying:

         1.     All documents and other records, including those stored on electronic medium,
                which embody, describe and/or refer to past and/or present marketing of the
                Oceidental Hotesl and Resorts.

         2.     All documents and other records, including e-mails, text messages and other
                electronic records, which embody, describe and/or refer to communications between
                employees/agents of Allegro Resorts Marketing Corporation and any other entity
                which relate in any way to the injury of J. C. and/or the claims arising from that
                injury.


                                       LA W OFFICES OF BENNER & FORAN


                                              Bv:lslDavid A. Priehs if39606)
                                              BRIAN J. BENNER (P25239)
                                              DAVID A. PRIEHS (P39606)
                                              Attorneys for Plaintiffs
                                              28116 Orchard Lake Road
                                              Farmington Hills, MI 48334
                                              248-737-5544
  Dated: November 10, 2011
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.394 Filed 11/10/11 Page 24 of 25




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 STEVE CONLEY, NANCY CONLEY,
 Individually and NANCY CONLEY
 as NEXT FRIEND OF J. c., a Minor

 Plaintiffs                                         Case No.2: I I-cv-I120S
                                                    Hon. Sean F. Cox
 v.                                                 Magistrate Judge R. Steven Whalen

 MLT, INC., a Minnesota corporation,
 DIAMOND HOTELS COZUMEL SA
 de C.V., a foreign corporation, HOLIDAY
 VILLAGE WHITE SANDS SA, a foreign
 corporation, OCCIDENTAL HOTELS
 MANAGEMENT B.V., a foreign corporation,
 OCCIDENTAL HOTELES MANAGEME]\,Tf,
 S.L, a foreign corporation, and ALLEGRO
 RESORTS MARKETING CORPORATION,
 a Florida corporation

               Defendants,

 LAW OFFICES OF BENNER & FORAN               EBONY L DUFF (P6543I )
 BRIAN 1. BENNER (P25239)                    Attorney for Defendant ML T, Inc
 NANCY SA VAGEAU (PS6546)                    1000 Woodbridge Street
 DAVID A PRIEHS (P39606)                     Detroit, MI 48207
 Attorneys for Plaintiffs                    313-446-5543/313-259-0450(fax)
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 248-737-55441248-737 -554S(fax)             JOSHUA D. YEAGER
                                             CREMER, SPINA, SHAUGHNESSY,
 ANTHONY J. CALATI (P34994)                  JANESEN & SIEGERT, LLC
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 Detroit, MI 48226                           Chicago, IL 6060 I
 31 3-965-6100!31 3-73 1-041O(fax)           312-726-3800


       NOTICE OF TAKING DEPOSITION DUCES TECUM OF JUAN GARNICA
Case 2:11-cv-11205-SFC-RSW ECF No. 27-5, PageID.395 Filed 11/10/11 Page 25 of 25




        PLEASE TAKE NOTICE that pursuant to FRCP 30 (b)(6) the deposition of Juan Garnica

 will be taken according to FRCP 30(b)( 6) at a date and location to be determined at a latertime. This

 deposition duces tecum will be used for all purposes allowable pursuant to tbe Federal Rules ofCivil

 Procedure.

        The witnesses shall produce at their depositions for inspection and copying:

         1.     All documents and other records, including those stored on electronic medium,
                which embody, describe and/or refer to past and/or present marketing of the
                Occidental Hotcsl and Resorts.

        2.      All documents and other records, including e-mails, text messages and other
                electronic records, which embody, describe and/or refer to communications between
                employees/agents of Allegro Resorts Marketing Corporation and any other entity
                which relate in any way to the injury of J. C. and/or the elaims arising from that
                lIlJury.


                                        LAW OFFICES OF BENNER & FORAN


                                               By:lslDavid A. Priehs (P39606)
                                               BRIAN J. BENNER (P25239)
                                               DAVID A. PRIEHS (P39606)
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                                               28116 Orchard Lake Road
                                               Farmington Hills, MI 48334
                                               248-737-5544
 Dated: November 10,2011
